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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

 ABEL PENA

                                                    C.A. No.: 2:16-cv-00501
 VS.


 AMERICAN ZURICH
 INSURANCE COMPANY

                   ORDER DISMISSING CASE WITHOUT PREJUDICE
        Plaintiff filed a Notice of Dismissal, seeking to dismiss this case without prejudice. Because

Defendant has yet to answer, and has not filed a motion for summary judgment, Plaintiff has the right

to dismiss this case. Fed. R. Civ. P. 41(a)(1)(A)(i). Therefore, this case is hereby DISMISSED

WITHOUT PREJUDICE.

        Signed on _______________________________, at Corpus Christi, Texas.




                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE
